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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS                         NOV 01 2012
                           WESTERN DIVISION
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                                                                                     DE.PCI.tAA
NICOLE COLLINS, CASI HUDSON,                                            PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
and ERIN TOWNSEND, Each Individually
and on Behalf of Others Similarly Situated


vs.                          No. 4:12-cv-~16 (SWW)


BARNEY'S BARN, INC., Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
DANNY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB                                        DEFENDANTS


                            ORIGINAL COMPLAINT

       COME NOW Plaintiffs Nicole Collins, Casi Hudson, Rachel Hillman, Jane

Doe I, Chris Cruthis, Marcus Stevens, and Erin Townsend, each on their own

behalf and on behalf of all others similarly situated, by and through their

attorneys Anne Milligan and Josh Sanford of the Sanford Law Firm, PLLC, and

for their Original Complaint against Defendants Barney's Barn, Inc., individually

and d/b/a Peaches Gentleman's Club; Danny Martindill, individually and d/b/a

Peaches Gentleman's Club; Casey Martindill, individually and d/b/a Peaches

Gentleman's Club;     and   Michael Jones,       individually and d/b/a Peaches

Gentleman's Club (hereinafter referred to collectively-unless otherwise noted-

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as "Defendant"), and in support thereof they do hereby state and allege as

follows:

                                            I.

                                  INTRODUCTION

       1.     Plaintiffs assert individual claims under the Fair Labor Standards

Act ("FLSA"), the Arkansas Minimum Wage Act ("AMWA"), and the common laws

of the State of Arkansas-namely unjust enrichment.

       2.     Plaintiffs make collective action allegations under the FLSA and

class action claims related to their AMWA and unjust enrichment claims under

Rule 23 of the FRCP; to that end, Plaintiffs propose two classes for each cause

of action: an exotic dancer class and a non-dancer class.

       3.     This case is closely related to a previously-filed (and now closed)

case in this judicial district, namely Kalie Brown. et al.. v. Barney's Barn. Inc .. et

gl, 4:11-cv-224-SWW, and so a Notice of Related Case is filed concurrently

herewith, pursuant to General Order No. 39.

       4.     Plaintiffs are female exotic dancers (hereinafter referred to as

"dancers" or "Dancer Plaintiffs"), as well as male and female bartenders,

bouncers, security guards, waitresses, assistant managers, etc., (hereinafter

referred to as "non-dancers" or "Non-dancer Plaintiffs") for Defendant at its

Pulaski County location during the relevant time period, and who were denied

their clearly-established, rights under applicable federal and state statutes, as

well as Arkansas common law.


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       5.    Defendant paid no wages whatsoever to Dancer Plaintiffs and

forced Dancer Plaintiffs to pay Defendant unlawful sums just to work at Peaches.

      6.     Defendant paid all waitresses and bartenders $2.00 an hour in

"under-the-table" cash, rather than the $2.63 per hour required under the AMWA.

      7.     Defendant paid all workers other than Dancer Plaintiffs, waitresses,

and bartenders a "flat fee" in "under-the-table" cash for each shift worked,

regardless of the hours that those persons worked, often resulting in an hourly

rate of $5.41 per hour or less-i.e., far short of both the Federal ($7.25) and the

Arkansas State ($6.25) minimum wages and providing no compensation at all for

overtime.

      8.     As a result of the practices of Defendant described herein,

Defendant failed to adequately compensate all Plaintiffs, as well as those

persons similarly-situated to Plaintiffs and who Plaintiffs seek to represent-

including minimum and overtime wages as required by the FLSA and AMWA,

and fair compensation as required by Arkansas common law.

                                          II.

                          JURISDICTION AND VENUE

      9.     Plaintiffs and those similarly situated seek a declaratory judgment

under 28 U.S.C. §§ 2201 and 2202.

      10.    Plaintiffs seek compensation and other relief under the Fair Labor

Standards Act, as amended, 29 U.S.C. § 201 et seq. Accordingly, this Court has

jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1337.


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             11.    This Complaint also alleges causes of action under the common

      law and statutes of the State of Arkansas, that arise out of the same set of

      operative facts as the federal causes of action herein alleged; furthermore; these

      state causes of action would be expected to be tried with the federal claims in a

      single judicial proceeding.

             12.    This Court has supplemental jurisdiction over those additional

      claims pursuant to 28 U.S.C. § 1367(a).

             13.    The acts complained of herein were committed and had their

      principal effect, as described more fully below, within the Eastern District of

      Arkansas; therefore, venue is proper within this District pursuant to 28 U.S.C.

      § 1391.

                                                 Ill.

                                             PARTIES

             A. Dancer Plaintiffs

             14.    Plaintiff Nicole Collins (hereinafter "Collins"), stage name "Destiny,"

      is a citizen and resident of the State of Arkansas. Collins worked as a dancer at

      Defendant's place of business located at 221 West Main Street, Jacksonville,

      Arkansas, from mid-March 2009 through October 2011.

             15.    Collins typically worked six to seven nights per week, with each

      night consisting of about nine to twelve hours, averaging sixty-five to seventy-five

      hours per week.

             16.    Plaintiff Casi Hudson (hereinafter "Hudson"), stage name "Blaze," is

      a citizen and resident of the State of Arkansas. Hudson worked as a dancer,
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waitress, and bartender at Defendant's place of business located at 221 West

Main Street, Jacksonville, Arkansas, from October 2007 until about July of 2010.

       17.    Hudson typically worked six nights per week, with each night

consisting of about twelve hours, averaging around seventy-two hours per week.

       18.    Plaintiff Rachel Hillman (hereinafter "Hillman") is a citizen and

resident of the State of Arkansas. Hudson worked as a dancer at Defendant's

place of business located at 221 West Main Street, Jacksonville, Arkansas, from

March 2009 through March 2010, and again in July 2010 until roughly

Thanksgiving of 2010.

       19.    Hillman typically worked six nights per week, with each night

consisting of about twelve hours, averaging at least seventy-two hours per week.

       20.    Plaintiff Jane Doe I (hereinafter "Doe 1"), stage name "Megan," is a

citizen and resident of the State of Arkansas. Doe I worked as a dancer and

bartender at Defendant's place of business located at 221 West Main Street,

Jacksonville, Arkansas, off and on from 2009 through 2010.

       21.    Doe I worked five to seven nights per week, with each night

consisting of at least eleven hours, averaging fifty-five to seventy-seven hours

per week.

       22.    Plaintiff Doe I wishes to proceed anonymously in this case because

she has abandoned exotic dancing and has moved on to a professional position

in which she has extensive contact with persons in the Little Rock area where

this Court is located, and she deals with the public on a daily basis.


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       23.    Defendant is not inconvenienced by Jane Doe I proceeding

anonymously because they are aware of who Jane Doe I is. Doe I worked for

Defendant for two years; however, proceeding anonymously herein allows

Plaintiff Doe I to avoid the gross opprobrium associated with the public's

perception of exotic dancers as well as any reprisals by her current employer.

       24.    Furthermore, Counsel for Plaintiff Doe I is ready and willing to

privately disclose the identity of Doe I to Defense Counsel upon his or her entry

of appearance, under the condition of continued anonymity.

       B. Non-Dancer Plaintiffs

       25.    Plaintiff Chris Cruthis (hereinafter "Cruthis") is a citizen and resident

of the State of Arkansas.      Plaintiff worked at Defendants' place of business

located at 221 West Main Street, Jacksonville, Arkansas, from before the period

covered by the statute of limitations until April 12, 2010.

       26.    Cruthis worked as a bouncer and/or security guard for Defendant

and was always paid a flat fee of $65.00 cash per night to come in, work the

door, and clean up after patrons left.

       27.    Shifts at Peaches were typically no less than twelve hours, which

for Cruthis resulted in an effective hourly rate of $5.41/hour or less, in violation of

the minimum wage and overtime provisions of the FLSA and the AMWA.

       28.    Defendant told Cruthis that he was paid only $65.00 a night

because "taxes were being held out;" however, despite Cruthis's repeated

requests, Defendant refused to deliver any tax documents (e.g., a W-2 or a 1099)

whatsoever to Cruthis for all tax years, including 2008, 2009 or 2010.
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        29.   The final time that Cruthis requested tax documents from his

employer, he was finally told that no tax documents existed.

        30.   Cruthis typically worked almost every night at Defendant's place of

business, from open to close (5:00PM-5:00AM or later), six to seven days per

week.

        31.   Plaintiff Marcus Stevens (hereinafter "Stevens") is a citizen and

resident of the State of Arkansas.        Plaintiff worked at Defendants' place of

business located at 221 West Main Street, Jacksonville, Arkansas, from before

the statute of limitations period until September of 2010.

        32.   Stevens was a disc-jockey, or "OJ," and also assisted in the

management of bartenders, waitresses and dancers. Stevens was always paid a

flat fee of $75.00 cash per night, and he typically worked six shifts per week, from

open to close, 5:00PM-5:00AM, or sometimes even as late as 8:00AM.

        33.   Due to Stevens' involvement in management, his shifts at Peaches

were typically no less than thirteen hours, which resulted in an effective hourly

rate of $5. 77/hour or less, in violation of the FLSA and the AMWA.

        34.   Stevens repeatedly requested tax documents from Defendant so

that he could file taxes on his income; however, Defendant refused to deliver any

tax documents (e.g., a W-2 or a 1099) whatsoever to Stevens for all tax years,

including 2008, 2009 or 2010.

        35.   Plaintiff Casi Hudson (hereinafter "Hudson"), an aforedescribed

exotic dancer, was also a waitress and bartender at Defendant's place of


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business located at 221 West Main Street, Jacksonville, Arkansas, from October

of 2007 until about July of 2010.

       36.    Hudson typically blended her work as a dancer with her work as a

waitress and a bartender-that is to say, if Hudson was waiting tables or

bartending, but Defendant was short a dancer that night, Defendant would make

Hudson get on the stage and dance instead of performing her other duties.

       37.    Hudson was only paid $2.00/hour in cash each night to work as a

bartender or waitress, in violation of the FLSA and the AMWA, the latter of which

requires a minimum tipped wage of $2.63/hour.

       38.    Hudson was told that she was only paid for the hours that she

worked that the business was open to the public, i.e. 6:00 PM to 5:00 AM. She

was not paid for any opening or closing duties or any time spent at pre-open staff

meetings, which could take between a half hour to an hour or more on each end

of her shift, in violation of the FLSA and the AMWA.

       39.    Hudson repeatedly requested tax documents from Defendant so

that she could file taxes on her income; however, Defendant refused to deliver

any tax documents (e.g., a W-2 or a 1099) whatsoever to Hudson for all tax,

including years 2007, 2008, 2009 or 2010.

      40.     Plaintiff Erin Townsend (hereinafter "Townsend"), was a lead

bartender at Defendant's place of business located at 221 West Main Street,

Jacksonville, Arkansas, from October of 2007 until about June of 2010.

      41.    Townsend was paid $4.00/hour in cash each night to work as a

lead bartender.
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       42.    Townsend was told that she was only paid for the hours that she

worked that the business was open to the public, i.e. 6:00 PM to 5:00 AM. She

was not paid for any opening or closing duties or any time spent at pre-open staff

meetings, which could take between a half hour to an hour or more on each end

of her shift, in violation of the FLSA and the AMWA.

       43.    Townsend repeatedly requested tax documents from Defendant so

that she could file taxes on her income; however, Defendant refused to deliver

any tax documents (e.g., a W-2 or a 1099) whatsoever to Hudson for all tax,

including years 2007, 2008, or 2009.

       C. Plaintiffs Generally

       44.    At all times relevant to this Complaint, each Dancer Plaintiff was

intentionally improperly classified by Defendant as an independent contractor,

but in reality she was an employee of Defendant subject to the requirements of

the Fair Labor Standards Act and the Arkansas Minimum Wage Act.

       45.    As a result of Defendant's intentional misclassification of Dancer

Plaintiffs, each such Plaintiff was paid no wages at all, and each dancer is owed

full minimum and overtime wages, as well as reimbursement for all their unlawful

house tip outs, as described herein.

       46.    At all times relevant to this Complaint, each non-Dancer Plaintiff

was an employee of Defendant subject to the requirements of the Fair Labor

Standards Act and the Arkansas Minimum Wage Act, among which are included

the nearly 75-year-old right to a minimum wage for all hours under forty and time-

and-a-half for all hours in excess of forty per week.
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         47.   Each non-Dancer Plaintiff was paid wages which fell short of the

minimum and overtime wages required under the Jaw.

         48.   Plaintiffs bring this action both individually and as representatives

on behalf of themselves and all other individuals who worked at Defendant's

place of business (within the three years immediately preceding the filing of this

case), present or future, who suffered wage and hour violations as described

above.

         49.   As set forth herein below, Plaintiff maintain that there is a legal and

equitable basis for this Court to find that the tolling of the statute of limitations

creates a period of damages that is longer than three years.

         D. Defendant Barney's Barn, Inc.

         50.   Defendant Barney's Barn, Inc., is a domestic nonprofit corporation

and was Plaintiffs' employer within the meaning of the FLSA, 29 U.S.C. § 203(d),

and the Arkansas Minimum Wage Act, A.C.A. § 11-4-203, for all relevant time

periods.

         51.   For all similarly situated employee Plaintiffs, Defendant Barney's

Barn, Inc., is currently or was their employer within the meaning of the Fair Labor

Standards Act, 29 U.S.C. § 203(d) and the Arkansas Minimum Wage Act, A.C.A.

§ 11-4-203.

         52.   The registered agent for Defendant Barney's Barn, Inc., is Danny

Martindill, whose address is 2221 West Main Street, Jacksonville, AR 72076.




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       E. Defendant Danny Martindill

       53.    Danny Martindill (hereinafter "D. Martindill") owns, manages and

controls the operation of the private club and dictates the employment policies of

the club including but riot limited to the decisions to classify the dancers as

independent contracts (and/or lessees), to require that dancers split their tips

with the club and other employees of the club, and to pay non-dancer employees

unlawfully.

       54.    D. Martindill is a citizen and resident of the State of Arkansas and

upon information and belief is an owner of the business that calls itself Peaches

or some similar name.

       55.    Upon information and belief, D. Martindill has at times relevant

hereto owned, managed and/or controlled Peaches.

       F. Defendant Casey Martindill

       56.    Casey Martindill (hereinafter "C. Martindill"), a former Peaches

exotic dancer and the current wife of Defendant Danny Martindill, manages and

controls the operation of the private club as a so-called "House Mom," directing

the work of exotic dancers, coaching and directing dancers that have broken club

rules, directing that managers hire or fire certain dancers, and dictating

employment policies of the club.

       57.    C. Martindill is a citizen and resident of the State of Arkansas and

upon information and belief is a manager of the business that calls itself Peaches

or some similar name.


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      58.    Upon information and belief, C Martindill has at times relevant

managed and/or controlled Peaches.

      G. Defendant Michael Jones

      59.    Upon information and belief, Michael Jones (hereinafter "Jones")

owns, manages and controls the operation of the private club and dictates the

employment policies of the club including but not limited to the decisions to

classify the dancers as independent contractors (and/or lessees), to require that

dancers split their tips with the club and other employees of the club, and to pay

non-dancer employees unlawfully.

      60.    Jones is a citizen and resident of the State of Arkansas and upon

information and belief is an owner of the business that calls itself Peaches or

some similar name.

      61.    Upon information and belief, Jones has at times relevant hereto

owned, managed and/or controlled Peaches.

      H. Defendants Generally

      62.    At all times relevant to this Complaint, Defendant was Plaintiffs'

employer as defined by the FLSA, 29 U.S.C. § 203(d), and the Arkansas

Minimum Wage Act, A.C.A. § 11-4-203.

      63.    At all relevant times, Defendant has owned and operated a night

club business engaged in interstate commerce and which utilized goods which

moved in interstate commerce.




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       64.    During the relevant time period the annual gross revenues of

Defendant exceeded $500,000.00 per annum, despite whatever allegations to

the contrary the official books of Defendant might tend to support.

      65.     Defendant was at all relevant times engaged in commerce as

defined in 29 U.S.C. § 203(r) and § 203(s).

      66.     Defendant constitutes an "enterprise" within the meaning of 29

U.S.C. § 203(r)(1), because it performed related activities through common

control for a common business purpose.

      67.     At relevant times the enterprise engaged in commerce within the

meaning of 29 U.S.C. § 206(a) and§ 207(a).

      68.     At all times material herein, Plaintiffs and those similarly situated

have been entitled to the rights, protection and benefits provided under the 29

U.S.C. § 201, et seq.

      69.     At all times material herein, Plaintiffs and those similarly situated

(per the description of Rule 23 Classes One and Two) have been entitled to the

rights, protection and benefits provided under the Arkansas Minimum Wage Act,

A.C.A. § 11-4-201, et seq.

      70.     At all times material herein, Plaintiffs and those similarly situated

(per the description of Rule 23 Classes Three and Four) have been entitled to the

rights, protection and benefits provided under common law theories of unjust

enrichment.




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      71.       No exemptions or exceptions to the application of the FLSA or

AMWA apply to Plaintiffs and the proposed collective class members or to any of

the members of the Rule 23 Classes.

                                            IV.

                   GENERAL ALLEGATIONS APPLICABLE TO
                      ALL COUNTS FOR NON-DANCERS

      72.       Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

      73.       As set forth herein above, Defendant failed to pay all of its non-

dancer employees, who should have been paid no less than the Federal

minimum wage, in compliance with Federal and State laws.

      74.       Non-dancer Plaintiffs and those similarly situated were           not

misclassified or accidentally underpaid; instead, Defendant set out to intentionally

underpay all their employees, defraud the government, and run a business

beyond the boundaries of law-abiding citizens and business.

                                            v.
                               DEFENDANT'S INTENT

       75.      All actions by Defendant were willful and not the result of mistake or

inadvertence.

       76.      Defendant knew or should have known that the FLSA applied to the

operation of the private club at all relevant times. Defendant knew of or should

have been aware of previous litigation and enforcement actions relating to wage



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and hour violations where the misclassification of exotic dancers as independent

contractors under the FLSA was challenged.

        77.      Cases in support of the position taken by Plaintiffs in this lawsuit

are many and are found throughout the country.               Many of them meaningfully

predate the intentional classification committed by Defendant in this case.

Harrell v. Diamond Entertainment. Inc., 992 F. Supp. 1343, (M.D. Fla. 1997);

Reich v. Circle C. Investments. Inc.. 998 F. 2d 324 (5th Cir. 1993); Reich v.

ABCNork-Estes Corp, 1997 WL 264379 (N.D.III. 1997); Reich v. Priba Corp.,

890 F.Supp. 586 (N.D.Tex. 1995); Martin v. Priba Corp., 1992 WL 486911

(N.D.Tex.); Martin v. Circle C. Investments. Inc., 1991 WL 338239 (W.O. Tex);

Donovan v. Tavern Talent & Placements. Inc., 1986 WL 32746 (D.Colo.); Morse

v. Mer Corp., 2010 WL 2346334 (S.D. Ind.).

        78.      Plaintiffs are aware of no cases which support Defendant's

intentional misclassification.

        79.      In those prior cases, exotic dancers working under conditions

similar to those employed by Defendant were determined to be employees under

the FLSA, not independent contractors.

        80.      Despite being on notice of its violations, Defendant chose to

continue to misclassify Plaintiffs and other members of the proposed collective

class and withhold minimum (and overtime) wages to them in effort to enhance

their profits.

        81.      Additionally, some Plaintiffs and some members of the proposed

collective class from time to time complained to Defendant about the
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unlawfulness of the intentional misclassification and demanded that dancers be

paid according to law and that dancers' tips not be diverted to Defendant and its

employees, such as the disc jockeys, waitresses, bar tenders, bouncers and

others who were the beneficiaries of some the illegal tip exactions carried out

under various policies of Defendant.

                                            VI.

                               INJURY AND DAMAGE

      82.    Plaintiffs and all other members of the proposed collective and Rule

23 classes have suffered injury, incurred damages and significant financial loss

as a result of Defendant's conduct complained of herein.

                                            VII.

                     FLSA COLLECTIVE ACTION ALLEGATIONS

      A. Dancer Plaintiffs

      83.    Dancer Plaintiffs bring their claims for relief for violation of the FLSA

as a collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b),

on behalf of all persons who were, are, or will be employed by Defendant as

similarly situated dancers improperly classified as independent contractors at any

time within the applicable statute of limitations period, who are entitled to

payment of the following types of damages:

             (i.)      minimum wages for the first forty (40) hours worked each

                       week;

             (ii.)     overtime premiums for all hours worked for Defendant in

                       excess of forty (40) hours in any week;
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                             (iii.)   tips paid by customers to Plaintiffs and the collective action

                                      class members which were exacted by Defendant; and

                             (iv.)    liquidated damages and attorney's fees for the same.

                       84.   The relevant time period dates back three years from the date on

              which the Original Complaint herein was filed and continues forward through the

              date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

              below.

                       85.   Plaintiffs are unable to state the exact number of the class but

              believe that the class exceeds 50 persons but is less than 200 persons.

                       86.   Defendant can readily identify the members of the class, who are a

              certain portion of the current and former employees of Defendant.

                       87.   The names and physical and mailing addresses of the FLSA

              collective action plaintiffs are available from Defendant, and notice should be

              provided to the FLSA collective action plaintiffs via first class mail to their last

              known physical and mailing addresses as soon as possible.

                       88.   The email addresses of many of the FLSA collective action plaintiffs

              are available from Defendant, and notice should be provided to the FLSA

              collective action plaintiffs via email to their last known email address as soon as

              possible.

                       89.   Notice of the right to join this lawsuit should be posted

              conspicuously at Defendant's business in a manner consistent with the orders of

              this Court.


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      90.    The claimed damages, inclusive of potential opt-in class members,

exceed $300,000.00.

      91.    Plaintiffs assert that other current and former dancers are similarly

situated in that they are and/or were subject to Defendant's same and continuing

policy and practice of intentionally misclassifying dancers as independent

contractors, as opposed to employees, and were not paid the minimum and

overtime wages required under the FSLA, and whose tips were unlawfully

exacted by Defendant.

      92.    The proposed FLSA class members are similarly situated in that

they have been subject to uniform practices by Defendant which violated the

FLSA, including:

             a.     Defendant's failure to compensate members of the class at
                    the minimum wage rate required by the FLSA, 29 U.S.C. §
                    203(m);

             b.     Defendant's failure to pay members of the class overtime
                    compensation in violation of the FLSA, 29 U.S.C. § 201 et
                    seq.;

             c.     Defendant required members of the class to pay Defendant
                    and other employees of Defendant fees from the ~ they
                    rereived in violation of29 U.S.C. § 203 (m).

      B. Non-Dancer Plaintiffs

      93.    Non-Dancer Plaintiffs bring their claims for relief for violation of the

FLSA as a collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. §

216(b), on behalf of all persons who were, are, or will be employed by Defendant

as waitresses, bartenders, security guards, managers or any person otherwise


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paid a rate less than the minimum wage any time within the applicable statute of

limitations period, who are entitled to payment of the following types of damages:

               (i.)     minimum wages for the first forty (40) hours worked each

                        week;

               (ii.)    overtime premiums for all hours worked for Defendant in

                        excess of forty (40) hours in any week; and

               (iii.)   liquidated damages and attorney's fees for the same.

         94.   The relevant time period dates back three years from the date on

which the Original Complaint herein was filed and continues forward through the

date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         95.   Plaintiffs are unable to state the exact number of the class but

believe that the class exceeds 30 persons but is less than 100 persons.

         96.   Defendant can readily identify the members of the class, who are

presumably all current and former non-dancer employees of Defendant.

         97.   The names and physical and mailing addresses of the FLSA

collective action plaintiffs are available from Defendant, and notice should be

provided to the FLSA collective action plaintiffs via first class mail to their last

known physical and mailing addresses as soon as possible.

         98.   The email addresses of many of the FLSA collective action plaintiffs

are available from Defendant, and notice should be provided to the FLSA

collective action plaintiffs via email to their last known email address as soon as

possible.
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       99.    As set forth herein below, Plaintiff maintain that there is a legal and

equitable basis for this Court to find that the tolling of the statute of limitations

creates a period of damages that is longer than three years.

       100.   The claimed damages, inclusive of potential opt-in class members,

exceed $300,000.00.

       101.   Plaintiffs assert that other current and former employees are

similarly situated in that they are and/or were subject to Defendant's same and

continuing policy and practice of intentionally failing to pay the minimum and

overtime wages required under the FLSA.

       102.   The proposed FLSA class members are similarly situated in that

they have been subject to uniform practices by Defendant which violated the

FLSA, including:

              a.     Defendant's failure to compensate members of the class at
                     the minimum wage rate required by the FLSA, 29 U.S.C. §
                     203(m); and

              b.     Defendant's failure to pay members of the class overtime
                     compensation in violation of the FLSA, 29 U.S.C. § 201 et
                     seq.

                                         VIII.

        RULE 23 CLASS ACTION ALLEGATIONS UNDER THE AMWA

      A. Dancer Plaintiffs ("Rule 23 Class One")

       103.   Plaintiffs also bring this case as a class action claim pursuant to

Rule 23 of the Federal Rules of Civil Procedure on behalf of themselves and all

other similarly situated dancers within the State of Arkansas improperly classified

by Defendant as independent contractors at any time within the applicable
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statute of limitations period for the purpose of obtaining relief under Arkansas law

for unpaid wages and unpaid overtime wages under the AMWA. A.C.A. § 11-4-

201, et seq.

        104.    The relevant time period for the Rule 23 Class One dates back

three years from the date of this Complaint's filing and continues forward through

the date of judgment pursuant to Ark. Code Ann.§ 16-56-115, except as set forth

herein below.

        105.    The members of the proposed Class One are so numerous that

joinder of all members is impracticable.

        106.    Plaintiffs are unable to state the exact number of the class but

believe that the class exceeds 50 persons but is less than 300 persons.

        107.    Plaintiffs will fairly and adequately represent and protect the

interests of the proposed Rule 23 Class One because there is no conflict

between the claims of the Plaintiffs and those of the proposed Rule 23 Class

One.

        108.    Plaintiffs' claims are typical of the claims of the proposed Rule 23

Class One members.

        109.    Plaintiffs' counsel are competent to litigate Rule 23 class actions

and other complex litigation matters, including wage and hour cases like this one,

and to the extent, if any, that they find that they are not, they are capable and

willing to associate additional counsel.

        110.    Plaintiffs named in this case have consented to the association of

additional counsel.
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       111.   There are questions of law and fact common to the proposed Rule

23 Class One which predominate over any questions affecting only individual

members of the proposed Rule 23 Class One.

       112.   The proposed Rule 23 Class One members have common

questions of law and fact in that they are all exotic dancers that have been

subject to uniform practices by Defendant which violated the AMWA, including:

       a.     Defendant's failure to compensate members of the class at the
              minimum wage rate required by the AMWA, at A.C.A. § 11-4-210
              and/or§ 11-4-212; and

       b.     Defendant's failure to pay members of the class overtime
              compensation in violation of the AMWA, A.C.A. § 11-4-211; and

       c.     Defendant's failure to make and keep records "for a period of not
              less than three (3) years in or about the premises wherein any
              employee is employed" in violation of the AMWA, A.C.A. § 11-4-
              217.

See Anderson v. Mt. Clemens Pottery Co., infra at 39, 328 U.S. 680, 687-88, 66

S.Ct. 1187 (1946) (in re record keeping provisions of the FLSA parallel to those

of the AMWA) (absence, inaccuracy, or inadequacy of employer's hour and wage

records raises presumption in favor of plaintiff and her calculations).

       113.   Plaintiffs' claims are typical of the claims of the proposed Rule 23

Class One in the following ways:

       a.     Plaintiffs are members of the proposed Rule 23 Class One;

       b.     Plaintiffs' claims arise out the same policies, practices, and course

              of conduct that form the basis of the proposed Rule 23 Class One;




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       c.     Plaintiffs' claims are based on the same legal and remedial theories

              as those of the proposed Rule 23 Class One and involve similar

              factual circumstances;

       d.     There are no conflicts between the interests of the named Plaintiffs

              and the Rule 23 Class One members; and

       e.     The injuries suffered by the named Plaintiffs and the Rule 23 Class

              One members are the same in kind and generally similar in extent.

       114.   Class certification is appropriate under FRCP 23(b)(3), because

questions of law and fact common to the class predominate over any questions

affecting only individual members of the proposed Rule 23 Class One.

       115.   Class action treatment is superior to the alternatives for the fair and

efficient adjudication of the controversy alleged herein. Such treatment will permit

a large number of similarly situated persons to prosecute their common claims in

a single forum simultaneously, efficiently, and without duplication of effort and

expense that numerous individual actions would entail.

       116.   No difficulties are likely to be encountered in the management of

this class action that would preclude its maintenance as a class action, and no

superior alternative exists for the fair and efficient adjudication of this controversy

       117.   The proposed Rule 23 Class One is readily identifiable from

Defendant's own employment and/or business records.

       118.   Prosecution of separate actions by individual members of the

proposed classes would create the risk of inconsistent or varying adjudications


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with respect to individual members of the proposed Rule 23 Class One that

would establish potentially incompatible standards of conduct for Defendant.

       119.     A Rule 23 class action is superior to other available methods for

adjudication of this aspect of the controversy because joinder of all members is

impracticable. Furthermore, the amounts at stake for many of the proposed Rule

23 Class One members, while potentially substantial, are not great enough to

enable them to maintain separate suits against Defendant.

       120.     Without a Rule 23 class action, Defendant will likely retain the

benefit of its wrongdoing and will continue an illegal course of action, which will

result in further damages to Plaintiffs and the proposed Rule 23 Class One.

       B. Non-Dancer Plaintiffs ("Rule 23 Class Two")

       121.     Non-Dancer Plaintiffs also bring this case as a class action claim

pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of

themselves and all other similarly situated non-dancer employees of Defendant

for the purpose of obtaining relief under Arkansas law for unpaid wages and

unpaid overtime wages under the AMWA. A.C.A. § 11-4-201, et seq.

       122.     The relevant time period for the Rule 23 Class Two dates back

three years from the date of this Complaint's filing and continues forward through

the date of judgment pursuant to Ark. Code Ann.§ 16-56-115, except as set forth

herein below.

       123.     The members of the proposed Class Two are so numerous that

joinder of all members is impracticable.


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        124.   Plaintiffs are unable to state the exact number of the class but

believe that the class exceeds 30 persons but is less than 100 persons.

        125.   Plaintiffs will fairly and adequately represent and protect the

interests of the proposed Rule 23 Class Two because there is no conflict

between the claims of the Plaintiffs and those of the proposed Rule 23 Class

Two.

        126.   Plaintiffs' claims are typical of the claims of the proposed Rule 23

Class Two members.

        127.   Plaintiffs' counsel are competent to litigate Rule 23 class actions

and other complex litigation matters, including wage and hour cases like this one,

and to the extent, if any, that they find that they are not, they are capable and

willing to associate additional counsel.

        128.   Plaintiffs named in this case have consented to the association of

additional counsel.

        129.   There are questions of law and fact common to the proposed Rule

23 Class Two which predominate over any questions affecting only individual

members of the proposed Rule 23 Class Two.

        130.   The proposed Rule 23 Class Two members have common

questions of law and fact in that they are all relatively low-level, sub-minimum

wage employees that have been subject to uniform practices by Defendant which

violated the AMWA, including:

        a.     Defendant's failure to compensate members of the class at the
               minimum wage rate required by the AMWA, at A.C.A. § 11-4-210
               and/or§ 11-4-212; and
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       b.     Defendant's failure to pay members of the class overtime
              compensation in violation of the AMWA, A.C.A. § 11-4-211; and

       c.     Defendant's failure to make and keep records "for a period of not
              less than three (3) years in or about the premises wherein any
              employee is employed" in violation of the AMWA, A.C.A. § 11-4-
              217.

See Anderson v. Mt. Clemens Pottery Co., infra at 39, 328 U.S. 680, 687-88, 66

S.Ct. 1187 (1946) (under the FLSA, which the AMWA parallels, the absence,

inaccuracy, or inadequacy of employer's hour and wage records raises

presumption in favor of plaintiff and her calculations).

       131.   Plaintiffs' claims are typical of the claims of the proposed Rule 23

Class One in the following ways:

       a.     Plaintiffs are members of the proposed Rule 23 Class Two;

       b.     Plaintiffs' claims arise out the same policies, practices, and course

              of conduct that form the basis of the proposed Rule 23 Class Two;

       c.     Plaintiffs' claims are based on the same legal and remedial theories

              as those of the proposed Rule 23 Class Two and involve similar

              factual circumstances;

       d.     There are no conflicts between the interests of the named Plaintiffs

              and the Rule 23 Class Two members; and

       e.     The injuries suffered by the named Plaintiffs and the Rule 23 Class

              Two members are the same in kind and generally similar in extent.




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       132.   Class certification is appropriate under FRCP 23(b)(3), because

questions of law and fact common to the class predominate over any questions

affecting only individual members of the proposed Rule 23 Class Two.

       133.   Class action treatment is superior to the alternatives for the fair and

efficient adjudication of the controversy alleged herein. Such treatment will permit

a large number of similarly situated persons to prosecute their common claims in

a single forum simultaneously, efficiently, and without duplication of effort and

expense that numerous individual actions would entail.

       134.   No difficulties are likely to be encountered in the management of

this class action that would preclude its maintenance as a class action, and no

superior alternative exists for the fair and efficient adjudication of this controversy

       135.   The proposed Rule 23 Class Two is readily identifiable from

Defendant's own employment and/or business records.

       136.   Prosecution of separate actions by individual members of the

proposed classes would create the risk of inconsistent or varying adjudications

with respect to individual members of the proposed Rule 23 Class Two that

would establish potentially incompatible standards of conduct for Defendant.

       137.   A Rule 23 class action is superior to other available methods for

adjudication of this aspect of the controversy because joinder of all members is

impracticable. Furthermore, the amounts at stake for many of the proposed Rule

23 Class Two members, while potentially substantial, are not great enough to

enable them to maintain separate suits against Defendant.


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       138.   Without a Rule 23 class action, Defendant will likely retain the

benefit of its wrongdoing and will continue an illegal course of action, which will

result in further damages to Plaintiffs and the proposed Rule 23 Class Two.

                                          IX.

                    FIRST INDIVIDUAL CAUSE OF ACTION

                           VIOLATION OF THE FLSA

   (Failure to Pay Statutory Minimum Wages, Including Overtime Wages)

      A. Dancer Plaintiffs

      139.    Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

      140.    Plaintiffs assert this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201, et seq.

      141.    At all relevant times Defendant has been, and continues to be, an

"employer" engaged in interstate "commerce" and/or in the production of "goods"

for "commerce," within the meaning of the FLSA, 29 U.S.C. § 203.

      142.    At all relevant times Defendant has employed and/or continues to

employ "employee[s]," including Plaintiffs and each of the prospective FLSA

Collective Action Plaintiffs, who have been and/or continue to be engaged in

interstate "commerce" and/or in the production of "goods" for "commerce," within

the meaning of the FLSA, 29 U.S.C. § 203.

      143.    At all relevant times, Defendant has had annual gross operating

revenues in excess of $500,000.00.


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         144.   29 U.S.C. § 206 requires that Defendant pay all employees

minimum wages for all hours worked. 29 U.S.C. § 206(a) provides in pertinent

part:

                Every employer shall pay to each of his employees
                who in any workweek is engaged in commerce or in
                the production of goods for commerce, or is employed
                in an enterprise engaged in commerce or in the
                production of goods for commerce, wages at[ ... ] not
                less than[ ... ] $7.25 an hour[ ... ].

         145.   29 U.S.C. §207(a) provides in pertinent part:

                ... no employer shall employ any of his employees [ ... ]
                for a workweek longer than forty hours unless such
                employee receives compensation for his employment
                in excess of the hours above [forty] at a rate of not
                less than one and one-half times the regular rate at
                which he is employed.

         146.   Defendant failed to pay Plaintiffs and the collective action class

members the minimum wages set forth in 29 U.S.C. §§ 206 and 207-or any

wages whatsoever.

         147.   In fact, Defendant required that Plaintiffs and others similarly

situated actually pay Defendant in order to have the opportunity to work for

Defendant.

         148.   Plaintiffs and those similarly situated did in fact pay Defendant for

the opportunity to work for Defendant.

         149.   Defendant failed to pay Plaintiffs and all other members of the

proposed class minimum wages throughout the relevant time period because it

intentionally misclassified them as independent contractors.


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       150.   The amounts paid to Plaintiffs and the proposed collective action

class members by customers in relation to dances performed were tips, not

wages paid by Defendant, and cannot be used to offset Defendant's obligation to

pay collective class members' minimum and overtime wages.

       151.   The FLSA permits an employer to allocate an employee's tips to

satisfy a portion of the statutory minimum wage requirement provided that the

following two conditions are both satisfied: (1) the employer must inform the

tipped employees of the provisions of 29 U.S.C. § 203(m); and (2) tipped

employees must retain a// the tips received, except those tips included in a

tipping pool among employees who customarily receive tips.             29 U.S.C. §

203(m).

      152.    Neither condition was satisfied by Defendant in this case.

      153.    Defendant did not inform Plaintiffs or other members of the

proposed collective class of the provisions of 29 U.S.C. § 203(m).

      154.    Plaintiffs and other collective action class members did not retain all

the tips received excepting those tips included in a tipping pool among

employees who customarily receive tips.

      155.    Defendant never notified Plaintiffs and other collective class

members that their tips were being used to reduce the minimum wages otherwise

due under FLSA's tip-credit provisions and that they were still due the reduced

minimum wage for tipped employees.

      156.    Rather, Defendant always maintained that Plaintiffs and members

of the proposed collective class were never due any minimum wages due to
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Defendant's intentional misclassification of Plaintiffs and collective action class

members as independent contractors; and in turn, Defendant paid Plaintiffs and

the proposed collective action class members no wages.

        157.   Further, Defendant's requirement that Plaintiffs and other collective

class members split their tips and pay Defendant's and other employees of

Defendant a percentage of all tips paid in relation to dances they performed was

not part of a valid tip pooling or sharing arrangement.

        158.   The amounts Plaintiffs and other members of the collective class

paid Defendant and other employees of Defendant were not shared with co-

employees who customarily receive tips.

        159.   Rather, the amounts collected from Plaintiffs and other collective

class members were retained by Defendant and/or paid to other employees of

Defendant who do not customarily receive tips.

        160.   Based on the foregoing, Plaintiffs and all members of the proposed

collective class are entitled to the full statutory minimum and overtime wages set

forth in 29 U.S.C. §§ 206 and 207 for all periods in which they worked for

Defendant.

        161.   Defendant's conduct in misclassifying Plaintiffs and other collective

class members as independent contractors was willful and done to avoid paying

them minimum and overtime wages and the other benefits that they were legally

entitled to.

        162.   The FLSA provides that a private civil action may be brought for the

payment of federal minimum and overtime wages and for an equal amount in
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liquidated damages in any court of competent jurisdiction by an employee on

behalf of him/herself and other employees similarly situated pursuant to 29

U.S. C.§ 216(b) ("Any employer who violates the provisions of section 206 or 207

of this title shall be liable to the employee or employees affected in the amount of

their unpaid minimum wages, or their unpaid overtime compensation, as the case

may be, and in an additional equal amount as liquidated damages.")

       163.   Moreover, Plaintiffs should recover attorneys' fees and costs

incurred in enforcing their rights pursuant to 29 U.S.C. § 216(b).

       164.   Based on the foregoing, Plaintiffs individually seek unpaid minimum

and overtime wages at the required legal rate for all of their working hours during

the relevant time period, reimbursement of any house fees, explicitly required or

implicitly required tip sharing with employees of Defendant, or with Defendant

itself, and other levies or assessments or exactions by Defendant, liquidated

damages, prejudgment interest, attorneys' fees and litigation costs and all other

costs and penalties allowed by law.

       B. Non-Dancer Plaintiffs

       165.   Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

       166.   Non-dancer Plaintiffs were paid a flat-fee in cash each night for

their work, regardless of how many hours they worked, often resulting in a wage

less than minimum being paid for hours less than forty and for less than all

overtime hours being paid at the statutory rate of time-and-a-half.


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       167.    Plaintiffs should recover attorneys' fees and costs incurred in

enforcing their rights pursuant to 29 U.S.C. § 216(b).

       168.    Based on the foregoing, Non-dancer Plaintiffs individually seek

unpaid minimum and overtime wages at the required legal rate for all of their

working hours during the relevant time period, liquidated damages, prejudgment

interest, attorneys' fees and litigation costs and all other costs and penalties

allowed by law.

                                           X.
                          SECONDCAUSEOFACTION

                            VIOLATION OF THE FLSA

              (Unlawful Collection of Tips/Gratuities by Defendant)

       A. Dancer Plaintiffs

       169.    Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

       170.    The amounts paid to Plaintiffs and the other members of the

proposed collective class by customers in relation to dances they performed

were tips under the FLSA, not wages.

       171.    Defendant required Plaintiffs and other collective class members to

share those tips with Defendant and other employees of Defendant.

       172.    Under the FLSA tipped employees are entitled to retain all the tips

received from patrons except those tips included in a tipping pool among

employees who customarily receive tips.


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       173.   Defendant's requirement that Plaintiffs and other members of the

proposed collective class split their tips with Defendant and with other employees

of Defendant was not part of a valid tip pooling or sharing arrangement.

       174.   The amounts Plaintiffs and other class members paid to Defendant

and other employees of Defendant were not shared with co-employees who

customarily receive tips. Rather, the amounts were retained by Defendant and/or

distributed to other employees of Defendant who do not customarily receive tips.

       175.   By reason of the foregoing Defendant violated the FLSA.

       176.   As a direct result of Defendant's unlawful conduct, Plaintiffs and all

members of the proposed collective class have suffered injury, incurred damages

and financial loss in an amount to be determined at trial.

       177.   In addition to other relief due, all tips which Plaintiffs and other

collective class members split with Defendant and other employees of Defendant

should be refunded to the Plaintiffs and the opt-in members of the collective class

along with prejudgment interest.

       178.   Plaintiffs re-allege their entitlement to the damages they described

herein above as house fees, explicitly required or implicitly required tip sharing

with employees of Defendant, or with Defendant itself, and other levies or

assessments or exactions by Defendant.




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                                            XI.

                     THIRD INDIVIDUAL CAUSE OF ACTION

                             VIOLATION OF THE FLSA

                            (Failure to Maintain Records)

       179.   Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein, except to the extent

the foregoing allegations are inconsistent with those set forth in this count.

       180.   29 U.S.C. § 211(c) provided in pertinent part:

       (c)    Records

              Every employer subject to any prov1s1on of this
              chapter or of any order issued under this chapter shall
              make, keep, and preserve such records of the
              persons employed by him and of the wages, hours,
              and other conditions and practices of employment
              maintained by him, and shall preserve such records
              for such periods of time, and shall make such reports
              therefrom to the Administrator as he shall prescribe
              by regulation or order as necessary or appropriate for
              the enforcement of the provisions of this chapter or
              the regulations or orders thereunder.

       181.   29 C.F.R. § 516.2 and 29 C.F.R. § 825.500 further require that

every employer shall maintain and preserve payroll or other records containing,

without limitation, the total hours worked by each employee each workday and

total hours worked by each employee each workweek.

       182.   29 U.S.C. § 215(a)(5) provides in pertinent part:

       ... [l]t shall be unlawful for any person -

       (5) to violate any provision of section 211 (c) of this title ...


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       183.     Defendant failed     to   maintain     all   records   required   by the

aforementioned statutes and regulations, including those showing all hours

Plaintiffs and other members of the collective class worked during the relevant

time period.

       184.     As a result of the foregoing, Defendant has violated the FLSA.

       185.     Defendant's conduct was willful and not the result of mistake or

inadvertence.      It would be inequitable for Defendant to retain the benefits

received as a result of its misconduct.

       186.     As a direct result of Defendant's unlawful conduct, Plaintiffs and all

other members of the proposed collective class have suffered injury, incurred

damages and financial loss.

       187.     When the employer fails to keep accurate records of the hours

worked by its employees, the rule in Anderson v. Mt. Clemens Pottery Co., 328

U.S. 680, 687-88, 66 S.Ct. 1187 (1946) is controlling. That rule states:

                ... where the employer's records are inaccurate or
                inadequate ... an employee has carried out his burden
                if he proves that he has in fact performed work for
                which he was improperly compensated and if he
                produces sufficient evidence to show the amount and
                extent of that work as a matter of just and reasonable
                inference. The burden then shifts to the employer to
                come forward with evidence of the precise amount of
                work performed or with evidence to negative the
                reasonableness of the inference to be drawn from the
                employee's evidence. If the employer fails to produce
                such evidence, the court may then award damages to
                the employee, even though the result be only
                approximate.



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       188.   The Supreme Court set forth this test to avoid placing a premium

on an employer's failure to keep proper records in conformity with its statutory

duty, thereby allowing the employer to reap the benefits of the employees' labors

without proper compensation as required by the FLSA.                 Where damages are

awarded pursuant to this test, "[t]he employer cannot be heard to complain that

the damages lack the exactness and precision of measurement that would be

possible had he kept records in accordance with ... the Act." ld.

       189.   Accordingly, Plaintiffs, on behalf of themselves and the members of

the proposed collective action class, seek appropriate relief against Defendant

including damages, restitution, estoppel from asserting the lack of employment

records as a defense, penalties, liquidated damages, attorneys' fees and costs

and all other relief just and appropriate in the circumstances.

                                          XII.

                          FOURTH CAUSE OF ACTION

                           VIOLATION OF THE AMWA

        (Failure to Pay the Arkansas State Statutory Minimum Wages

                             and Overtime Premiums)

       A. Dancer Plaintiffs

       190.   Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

       191.   The forgoing conduct, as alleged, violated the Arkansas Minimum

Wage Act, as codified at A.C.A. § 11-4-201 et seq.


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       192.   At all relevant times, Defendant has been, and continues to be, an

"employer" within the meaning of A.C.A. § 11-4-203 (4).

       193.   At all relevant times, Dancer Plaintiffs and the Rule 23 Class One

members have been and continue to be "employees" within the meaning of

A.C.A. § 11-4-203 (3), without exemption or exception.

       194.   At all relevant times, Dancer Plaintiffs and the Rule 23 Class One

members have not been and continue to not be "independent contractors" within

the meaning of A.C.A. § 11-4-203 (6), to wit: Plaintiffs and the Rule 23 Class One

members worked on the premises of Defendant; do not use their own techniques

and methods to accomplish the work set before them by Defendant; and are

subject to the control of Defendant not only in the result of their work, but in the

method and manner thereof in every way.

       195.   As a result of Defendant's failure to pay, and decision to withhold

wages earned and due to current and former employees in Rule 23 Class One

for all work performed at the regular hourly wage rate in weeks where Plaintiffs

worked forty hours a week and for all work performed at the applicable overtime

rate for hours worked beyond forty hours a week, Defendant has violated and

continues to violate A.C.A. § 11-4-211.

       196.   As a result of Defendant's failure to record, report, credit, and

furnish to each of its employee exotic dancers, including the members of the

Rule 23 Class One, their respective wage and hour records showing all wages

earned and due for all work performed, Defendant has violated and continues to

violate A.C.A. § 11-4-211.
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       197.   Dancer Plaintiffs therefore seek damages in the amount of the

respective unpaid wages earned and due at the regular hourly wage rate, and at

a rate not less than one and one-half times the regular rate of pay for work

performed in excess of forty (40) hours in a work week, along with any other legal

and equitable relief the Court deems just and proper.

       198.   Defendant's violations entitle        Dancer Plaintiffs to liquidated

damages pursuant to A.C.A. § 11-4-218(a)(2) in the form of double the

compensatory damages set forth in A.C.A. § 11-4-218(a)(1)(B)(i).

       199.   Dancer Plaintiffs are entitled to an award of attorneys' fees and

court costs pursuant to A.C.A. § 11-4-218(a)(1)(B)(ii).

       B. Non-Dancer Plaintiffs

       200.   Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

       201.   Non-dancer Plaintiffs were paid a flat-fee in cash each night for

their work, regardless of how many hours they worked, often resulting in a wage

less than minimum being paid for hours less than forty and for less than all

overtime hours being paid at the statutory rate of time-and-a-half.

       202.   Defendant's violations entitle Plaintiffs to liquidated damages

pursuant to A.C.A. § 11-4-218(a)(2) in the form of double the compensatory

damages set forth in A.C.A. § 11-4-218(a)(1 )(B)(i).

       203.   Plaintiffs are entitled to an award of attorneys' fees and court costs

pursuant to A.C.A. § 11-4-218(a)(1)(B)(ii).


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                                          XIII.

                            FIFTH CAUSE OF ACTION

                           VIOLATION OF THE AMWA

                          (Failure to Maintain Records)

       204.   Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein, except to the extent

the foregoing allegations are inconsistent with those set forth in this count.

       205.   Ark. Code Ann.§ 11-4-217 provides in pertinent part:

              Every employer subject to any provision of this subchapter or of
              any regulation issued under this subchapter shall make and keep
              for a period of not less than three (3) years in or about the premises
              wherein any employee is employed, a record of the name, address,
              and occupation of each of his or her employees, the rate of pay,
              [and, inter alia] the amount paid each pay period to each employee
                   ,

       206.   The Administrative Regulations of the Labor Standards Division of

the Arkansas Department of Labor further require that every employer shall

maintain and preserve payroll or other records containing, without limitation, the

total hours worked by each employee each workday and total hours worked by

each employee each workweek. Admin. Reg. Labor Stand. Div. ARDOL 010.14-

102(A)(1) (retrievable publicly at http://www.state.ar.us/labor//pdf/permanent_

regs_minwage2007 .pdf).

       207.   Defendant failed      to   maintain     all   records   required   by   the

aforementioned statutes and regulations for the club's exotic dancers, including

those showing all hours Plaintiffs and other members of the Rule 23 Class One

worked during the relevant time period.
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         208.     As a result of the foregoing, Defendant has violated the AMWA

         209.     Defendant's conduct was willful and not the result of mistake or

inadvertence.        It would be inequitable for Defendant to retain the benefits

received as a result of its misconduct.

         210.     As a direct result of Defendant's unlawful conduct, Plaintiffs and all

other members of Rule 23 Class One have suffered injury, damages and

financial loss.

         211.     The Arkansas Department of Labor set forth the rule above to give

incentive to every employer to keep proper records in conformity with the

employer's statutory duty.

         212.     Without such a rule an employer would be permitted to reap the

benefits of its employees' labors without proper compensation as required by the

AMWA

         213.     The Court should adopt the rule of Anderson v. Mt. Clemens

Pottery Co., 328 U.S. 680, 687-88, 66 S.Ct. 1187 (1946) to Plaintiffs' AMWA

records claims and find that Defendant's utter lack of wage and hour records for

Plaintiffs raises a presumption in favor of Plaintiffs' weekly hours calculations and

proof.

         214.     Accordingly, Plaintiffs, on behalf of themselves and the members of

the proposed Rule 23 Class One, seek appropriate relief against Defendant

including damages, restitution, estoppel from asserting the lack of employment

records as a defense, penalties, liquidated damages, attorneys' fees and costs

and all other relief just and appropriate in the circumstances. A C. A§ 11-4-218.
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                                         XIV.

                           SIXTH CAUSE OF ACTION

                  UNJUST ENRICHMENT/QUANTUM MERUIT

       A. Dancer Plaintiffs

       215.   Plaintiffs hereby re-allege and incorporate by reference the

preceding paragraphs as if they were set forth again herein.

       216.   All of the time spent by Plaintiffs in the performance of their duties

as dancers for Defendant was for the sole benefit of Defendant.

       217.   Defendant had full knowledge of all duties performed by Plaintiffs

because it is Defendant that owned and operated the private club where Plaintiffs

worked and implemented all policies and procedures to which Plaintiffs were

subject.

       218.   Despite its knowledge, Defendant chose to accept the benefits of

Plaintiffs' uncompensated and undercompensated labor for itself.

       219.   By unjustly receiving the value of Plaintiffs' labor without providing

proper compensation therefore, Defendant obtained substantial benefits and was

unjustly enriched at the expense of Plaintiffs and the members of the proposed

Rule 23 Class.

       220.   By unlawfully demanding and retaining Plaintiffs' and members of

the proposed Rule 23 Class Two members' gratuities and wages, Defendant

obtained a substantial benefit and was unjustly enriched.           Such conduct was

detrimental to Plaintiffs and to the members of the proposed Rule 23 Class.


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          221.   Defendant's conduct was willful and not the result of mistake or

inadvertence.

          222.   It would be inequitable for Defendant to retain the benefits received.

          223.   As a direct result of Defendant's unlawful, unjust and inequitable

conduct, Plaintiffs and all members of the proposed Rule 23 Class have suffered

injury, incurred damages and financial loss in an amount to be determined at

trial.

          224.   Accordingly, on behalf of themselves and the members of the

proposed Rule 23 Class, Plaintiffs seek appropriate relief against Defendant

including damages, restitution, a refund of all tips paid to Defendant and other

employees of Defendant, prejudgment interest, attorneys' fees and costs and all

other relief that the Court deems just and appropriate.

          B. Non-Dancer Plaintiffs

          225.   Non-dancer Plaintiffs hereby re-allege and incorporate by reference

the preceding paragraphs as if they were set forth again herein.

          226.   Non-dancer Plaintiffs were paid a flat-fee in cash each night for

their work, regardless of how many hours they worked, often resulting in a wage

less than minimum being paid for hours less than forty and for less than all

overtime hours being paid at the statutory rate of time-and-a-half.

          227.   All of the time spent by Plaintiffs in the performance of their duties

was for the sole benefit of Defendant.




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          228.   Defendant had full knowledge of all duties performed by Plaintiffs

because it is Defendant that owned and operated the private club where Plaintiffs

worked.

          229.   Defendant    chose      to   accept      the    benefits   of   Plaintiffs'

undercompensated labor for itself.

          230.   By unjustly receiving the value of Plaintiffs' labor without providing

proper compensation therefore, Defendant obtained substantial benefits and was

unjustly enriched at the expense of Plaintiffs and the members of the proposed

Rule 23 Class.

          231.   Defendant's conduct was willful and not the result of mistake or

inadvertence.

          232.   It would be inequitable for Defendant to retain the benefits received.

          233.   As a direct result of Defendant's unlawful, unjust and inequitable

conduct, Plaintiffs and all members of the proposed Rule 23 Class have suffered

injury, incurred damages and financial loss in an amount to be determined at

trial.

          234.   Accordingly, on behalf of themselves and the members of the

proposed Rule 23 Class, Plaintiffs seek appropriate relief against Defendant

including damages, restitution, a refund of all tips paid to Defendant and other

employees of Defendant, prejudgment interest, attorneys' fees and costs.




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                                           XV.

                                EQUITABLE TOLLING

       235.   The applicable statute of limitations for Plaintiffs' FLSA causes of

action should be tolled for all putative class members because strict application

of the statute of limitations would be inequitable.

       236.   FLSA regulations require that all employers display posters

advising employees of their minimum wage and overtime pay rights. 29 C.F.R.

§ 516.4.

       237.   An employer's failure to post required FLSA notices regarding

minimum wage and overtime provisions can toll the statute of limitations. United

States v. Sabhnani, 566 F. Supp. 2d 139 (E.D.N.Y. 2008); Henchy v. City of

Absecon, 148 F. Supp. 2d 435, 439 (D.N.J. 2001); Kamens v. Summit Stainless.

Inc., 586 F. Supp. 324, 328 (E.D. Penn. 1984).

       238.   Defendant failed       to   post any       notice       regarding   the   FLSA

whatsoever.

       239.   Further, Defendant specifically instructed Dancer Plaintiffs that they

were not employees, but rather were independent contractors. As a result of

Defendant's assertions, Dancer Plaintiffs had no basis for believing they were

protected by the FLSA.

       240.   In addition, as a result of prior litigation, namely Katie Brown. et al.

v. Barney's Barn. Inc.. et al, 4:11-cv-224-S\/WIJ, Defendant has been on notice

for quite some time that dancers seek to pursue claims against Defendant for

FLSA violations.
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       241.   Based on any one factor set forth above, and certainly based upon

all of the factors collectively, this Court should apply the doctrine of equitable

tolling to toll the claims of all putative class members for as long as or longer than

any other court ever has any Federal District Court.

                                          XVI.

                                 PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Nicole Collins, Casi

Hudson, Rachel Hillman, Jane Doe I, Chris Cruthis, Marcus Stevens, and Erin

Townsend, each on behalf of themselves and for others similarly situated,

respectfully pray that each Defendant be summoned to appear and answer

herein; for orders as follows:

              (A)    Certification of and notice to the proposed
                     collective classes and the Rule 23 classes;

              (B)    For an order of this Honorable Court entering
                     judgment in Plaintiffs' favor against each
                     Defendant, jointly and severally;

              (C)    That the Court award Plaintiffs and others
                     similarly situated their actual economic
                     damages in an amount to be determined at
                     trial, but in any event an amount not less than
                     that which would compensate them for unpaid
                     back wages, in addition to wages equal to the
                     amount they were required to give Defendant
                     and other employees as "dance fees" and "OJ
                     fees" and "house" and/or "floor fees," any and
                     all other diversions or exactions of gratuities;

              (D)    A declaratory judgment that Defendant's
                     practices alleged herein violate the Fair Labor
                     Standards Act, 29 U.S.C. §201, et seq., and
                     attendant regulations at 29 C.F.R. §516 et seq;

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       (E)   A declaratory judgment that Defendant's
             practices alleged herein violate the Arkansas
             Minimum Wage Act, Ark. Code Ann. § 11-4-
             201, et seq. and the relating regulations;

       (F)   Judgment for damages for all unpaid regular
             wages and overtime compensation under the
             Fair Labor Standards Act, 29 U.S.C. §201, et
             seq., and attendant regulations at 29 C.F.R.
             §516 et seq;

       (G)   Judgment for damages for all unpaid regular
             wages and overtime compensation under the
             Arkansas Minimum Wage Act, Ark. Code Ann.
             § 11-4-201, et seq. and the relating
             regulations;

       (H)   Judgment for liquidated damages pursuant to
             the Fair Labor Standards Act, 29 US. C. §201,
             et seq., and attendant regulations at 29 C.F.R.
             §516 et seq., in an amount equal to all unpaid
             regular wages and overtime compensation
             owed to Plaintiffs and members of the Classes
             during the applicable statutory period;

       (I)   Judgment for liquidated damages pursuant to
             the Arkansas Minimum Wage Act, Ark. Code
             Ann. § 11-4-201, et seq. and the relating
             regulations;

       (J)   Judgment for any and all civil penalties to
             which Plaintiffs and all other similarly situated
             employees may be entitled;

       (K)   For an equitable tolling of the statutes of
             limitations due to violations of applicable laws
             by Defendant;

       (L)   An order directing Defendant to pay Plaintiffs
             and members of the Class prejudgment
             interest, reasonable attorney's fees and all
             costs connected with this action; and

       (M)   Such other and further relief as this Court may
             deem necessary, just and proper.
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                                    Respectfully submitted,

                                    NICOLE COLLINS, CASI HUDSON,
                                    RACHEL HILLMAN, JANE DOE I,
                                    CHRIS CRUTHIS, MARCUS
                                    STEVENS, and ERIN TOWNSEND,
                                    Each Individually and on behalf of
                                    Others Similarly Situated,
                                    PLAINTIFFS

                                    SANFORD LAW FIRM, PLLC
                                    ONE FINANCIAL CENTER
                                    650 S. SHACKLEFORD STE 400
                                    LITTLE ROCK, ARKANSAS 72211
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                                    Jo ua West
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                                                    •       •
                           and
                                   Anne Milligan
                                   Ark. Bar No. 2010263
                                   anne@sanfordlawfirm.com




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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
and ERIN TOWNSEND, Each Individually
and on Behalf of Others Similarly Situated


vs.                            No. 4:12-cv-_ _ (SWW)


BARNEY'S BARN, INC., Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
DANNY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB                                         DEFENDANTS


                    CONSENT TO JOIN COLLECTIVE ACTION

        I was an employee at Peaches Gentleman's Club on or after November 1,
2009, or in some cases, prior to that date. I understand this suit named above is
being brought under the Fair Labor Standards Act (FLSA) for regular and for
overtime compensation. As a former employee at Peaches Gentleman's Club, I
consent to becoming a party-plaintiff to this lawsuit, to be represented by Sanford
Law Firm, PLLC, and to be bound by any settlement of this action or adjudication of
this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                            /s/ Nicole Collins
                                            NICOLE COLLINS
                                            c/o Sanford Law Firm, PLLC
                                            One Financial Center
                                            650 South Shackleford, Suite 400
                                            Little Rock, Arkansas 72211


       Date: November 1, 2012




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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
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vs.                            No. 4:12-cv-_ _ (SWW)


BARNEY'S BARN, INC., Individually and
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DANNY MARTINDILL, Individually and
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CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
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this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                            Is/ Casi Hudson
                                            CASI HUDSON
                                            c/o Sanford Law Firm, PLLC
                                            One Financial Center
                                            650 South Shackleford, Suite 400
                                            Little Rock, Arkansas 72211


       Date: November 1, 2012




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                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
and ERIN TOWNSEND, Each Individually
and on Behalf of Others Similarly Situated


vs.                            No. 4: 12-cv-_ _ (SWW)


BARNEY'S BARN, INC., Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
DANNY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB                                         DEFENDANTS


                    CONSENT TO JOIN COLLECTIVE ACTION

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Law Firm, PLLC, and to be bound by any settlement of this action or adjudication of
this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                            Is/ Rachel Hillman
                                            RACHEL HILLMAN
                                            c/o Sanford Law Firm, PLLC
                                            One Financial Center
                                            650 South Shackleford, Suite 400
                                            Little Rock, Arkansas 72211


       Date: November 1, 2012




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                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
and ERIN TOWNSEND, Each Individually
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vs.                            No. 4:12-cv-_ _ (SWW)


BARNEY'S BARN, INC., Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
DANNY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB                                         DEFENDANTS


                    CONSENT TO JOIN COLLECTIVE ACTION

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overtime compensation. As a former employee at Peaches Gentleman's Club, I
consent to becoming a party-plaintiff to this lawsuit, to be represented by Sanford
Law Firm, PLLC, and to be bound by any settlement of this action or adjudication of
this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                            /s/ Jane Doe I
                                            JANE DOE I
                                            c/o Sanford Law Firm, PLLC
                                            One Financial Center
                                            650 South Shackleford, Suite 400
                                            Little Rock, Arkansas 72211


       Date: November 1, 2012




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                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
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vs.                            No. 4:12-cv-_ _ (SWW)


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DANNY MARTINDILL, Individually and
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CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB                                         DEFENDANTS


                    CONSENT TO JOIN COLLECTIVE ACTION

        I was an employee at Peaches Gentleman's Club on or after November 1,
2009, or in some cases, prior to that date. I understand this suit named above is
being brought under the Fair Labor Standards Act (FLSA) for regular and for
overtime compensation. As a former employee at Peaches Gentleman's Club, I
consent to becoming a party-plaintiff to this lawsuit, to be represented by Sanford
Law Firm, PLLC, and to be bound by any settlement of this action or adjudication of
this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                            /s/ Chris Cruthis
                                            CHRIS CRUTHIS
                                            c/o Sanford Law Firm, PLLC
                                            One Financial Center
                                            650 South Shackleford, Suite 400
                                            Little Rock, Arkansas 72211


       Date: November 1, 2012




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                                        Exhibit A
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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
and ERIN TOWNSEND, Each Individually
and on Behalf of Others Similarly Situated


vs.                            No. 4:12-cv-_ _ (SWW)


BARNEY'S BARN, INC., Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
DANNY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
an~ MICHAEL JONES, Individually and
d/tl/a PEACHES GENTLEMAN'S CLUB                                        DEFENDANTS


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Law Firm, PLLC, and to be bound by any settlement of this action or adjudication of
this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                           Is/ Marcus Stevens
                                           MARCUS STEVENS
                                           c/o Sanford Law Firm, PLLC
                                           One Financial Center
                                           650 South Shackleford, Suite 400
                                           Little Rock, Arkansas 72211


       Date: November 1, 2012




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                                        Exhibit A
      Case 4:12-cv-00685-SWW Document 1 Filed 11/01/12 Page 55 of 55



                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


NICOLE COLLINS, CASI HUDSON,                                             PLAINTIFFS
RACHEL HILLMAN, JANE DOE I,
CHRIS CRUTHIS, MARCUS STEVENS,
and ERIN TOWNSEND, Each Individually
and on Behalf of Others Similarly Situated


vs.                            No. 4:12-cv-- - (SWW)


BARNEY'S BARN, INC., Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
DANNY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
CASEY MARTINDILL, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB;
and MICHAEL JONES, Individually and
d/b/a PEACHES GENTLEMAN'S CLUB                                         DEFENDANTS


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this action by the Court.

       I declare under penalty of perjury that the foregoing is true and correct.

                                           Is/ Erin Townsend
                                           ERIN TOWNSEND
                                           c/o Sanford Law Firm, PLLC
                                           One Financial Center
                                           650 South Shackleford, Suite 400
                                           Little Rock, Arkansas 72211


       Date: November 1, 2012




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                                        Exhibit A
